                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO


   JASON KESSLER                                   )      NOTICE OF
   ET AL.                     Plaintiff(s)         )      VOLUNTARY DISMISSAL
                                                   )      PURSUANT TO F.R.C.P.
               v.                                  )      41(a)(1)(A)(i)
                                                   )
                                                   )      Case No.3:18-CV-107
   CITY OF CHARLOTTESVILLE ET AL.                  )
                     Defendant(s)                  )       Judge MOON
                                                   )
                                                   )

        NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1)(A)(i)

         NOW COME PLAINTIFFS by their counsel and give notice that the above-captioned action is
 voluntarily dismissed, without prejudice, against all defendant(s) pursuant to the Federal Rules of
 Civil Procedure 41(a)(1)(A)(i).


 s/ JAMES E. KOLENICH (PHV)
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                                 CERTIFICATE OF SERVICE

        I certify the above was served on February 28, 2019 by the Court’s CM/ECF system
 and that no party requires or is entitled to service by other means.

                                                   s/ James E. Kolenich PHV
                                                   James E. Kolenich


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